              Case 3:11-cr-01926-H                   Document 490               Filed 03/05/13             PageID.1565              Page 1 of 2
    ~o 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
                 Sheet I



                                              UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF CALIFORNIA 2013                                         -5 Pi1           05
                      UNITED STATES OF AMERICA                                     AMENDED JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November I, 1987)
                                                                                                              ;~   "                    ~.va-
             JOSE NICEFORO GONZALEZ-RIVERA (26)                                    Case Number: II CRl926-H
                       also known as: Raul
                                                                                   L. Marcel Stewart
                                                                                   Defendant's Attorney
    REGISTRATION NO. 36373-298
    181 Correction of Sentence for Clerical Mistake (Fed. R. Crim. P.36) - Correction of custodial credit for time served in Canada
    THE DEFENDANT:
    181 pleaded guilty to count(s) _2_o_f_th_e_I_n_d_ic_tm_en_t_._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    o     was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
    Title & Section                          Nature of Offense                                                                             Number(sl
18 USC I 956(h) and 1957              CONSPIRACY TO LAUNDER MONETARY INSTRUMENTS                                                           2




        The defendant is sentenced as provided in pages 2 through     _2_ _ ofthisjudgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 o    Count(s)                                                                       is   0    areD dismissed on the motion of the United States.
  181 Assessment: $100.00.

  181 Fine waived                                     181 Forfeiture pursuant to order filed February 27,2013 , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the coun and United States Attorney of any material ehange in the defendant's economic circumstances.

                                                                               FEBRUARY 27, 2013


                                                                              ~Of~qj;~L4&-
                                                                              HON!M ruLYN~F
                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                                   11CR1926-H
         Case 3:11-cr-01926-H                   Document 490        Filed 03/05/13      PageID.1566           Page 2 of 2
AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                            Judgment - Page    2    of       2
 DEFENDANT: JOSE NICEFORO GONZALEZ-RIVERA (26)
 CASE NUMBER: llCR1926-H
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         30 MONTHS.



    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    ~ The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends that the defendant be given credit for approximately 338 days served while in custody in Canada.




     o The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
            Oat                                    Oa.m.    Dr.m.       on _____________
               as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before --------------------------------------------------------------
          o    as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.

                                                              RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at _________________ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL

                                                                    By
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                         llCR1916-H
